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                                    1           PATRICK H. HICKS, ESQ., Bar # 04632
                                                KELSEY E. STEGALL, ESQ., Bar # 14279
                                    2           LITTLER MENDELSON, P.C.
                                                3960 Howard Hughes Parkway
                                    3           Suite 300
                                                Las Vegas, NV 89169-5937
                                    4           Telephone:     702.862.8800
                                                Fax No.:       702.862.8811
                                    5           Email: phicks@littler.com
                                                       kstegall@littler.com
                                    6
                                                Attorneys for Defendants
                                    7           SBARRO, LLC dba SBARRO PIZZA, SBARRO, INC. dba
                                                SBARRO PIZZA
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                                10                                              UNITED STATES DISTRICT COURT

                                11                                                    DISTRICT OF NEVADA

                                12
                                                SANDRA M. MEZA-PEREZ,
                                13
                                                                   Plaintiff,                      Case No. 2:19-cv-00373-APG-NJK
                                14
                                                vs.                                                DEFENDANTS SBARRO LLC AND
                                15                                                                 SBARRO, INC.’S MOTION TO
                                                SBARRO LLC dba SBARRO PIZZA, a                     WITHDRAW SANDRA KETNER AS
                                16              foreign limited liability company, SBARRO,
                                                INC. dba SBARRO PIZZA, a foreign                   COUNSEL OF RECORD IN THIS CASE
                                17              corporation, ZACHARY CEBALLES, an
                                                individual , EFRAIN HERNANDEZ, an
                                18              individual, JESUS ALATORRE, an
                                                individual DANA DORADO, an individual,
                                19
                                                                   Defendants.
                                20

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                                22                     Defendants SBARRO, LLC dba SBARRO PIZZA, SBARRO, INC. dba SBARRO PIZZA

                                23              (collectively “Defendants”), pursuant to this Court’s Local Rule of Practice LR IA 11-6, respectfully

                                24              request that the Court withdraw Sandra Ketner, Esq., as counsel in this matter. Ms. Ketner is no longer

                                25              associated with Littler Mendelson, P.C. Accordingly, she should be removed as attorney of record in

                                26              this matter as well as being removed from the CM/ECF service list for this case.

                                27                     In support of this Motion, Defendants rely upon the memorandum of points and authorities as

                                28              set forth below.
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                                    1                                  MEMORANDUM OF POINTS AND AUTHORITIES

                                    2                  An attorney can only withdraw from a case with leave of court. See LR IA 11-6. In this case,
                                    3           the docket continues to reflect that Sandra Ketner serves as “lead attorney” in this matter. Ms. Ketner
                                    4           ended her association with Littler Mendelson on July 15, 2020.          Accordingly, she is no longer
                                    5           associated with this litigation. Defendants have directed undersigned counsel to file this Motion
                                    6           withdrawing Ms. Ketner as their counsel.
                                    7                  Should the Court grant this Motion, Ms. Ketner’s withdrawal will not affect the proceedings.
                                    8           Moreover, Ms. Ketner’s withdrawal from this case will not be relied upon as a basis for delaying
                                    9           proceedings. As indicated above, Ms. Ketner will not been affiliated with Littler Mendelson as of July
                                10              16, 2020.
                                11              Dated: July 16, 2020
                                12                                                            Respectfully submitted,
                                13

                                14                                                            /s/ Kelsey E. Stegall, Esq.
                                                                                              PATRICK H. HICKS, ESQ.
                                15                                                            KELSEY E. STEGALL, ESQ.
                                                                                              LITTLER MENDELSON, P.C.
                                16
                                                                                              Attorneys for Defendants
                                17                                                            SBARRO, LLC dba SBARRO PIZZA, SBARRO,
                                                                                              INC. dba SBARRO PIZZA
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                                21                IT IS SO ORDERED.
                                                  Dated: July 17, 2020
                                22                .
                                                  .
                                23                ____________________________
                                24                Nancy J. Koppe
                                                  United States Magistrate Judge
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